March 28, 2008


Mr. Richard A. Smith
Lynn Tillotson &amp; Pinker, L.L.P.
750 N. St. Paul. St., Ste 1400
Dallas, TX 75201
Mr. James B. Pinson
Assistant City Attorney
1500 Marilla Street
7BN Dallas City Hall
Dallas, TX 75201

RE:   Case Number:  06-0310
      Court of Appeals Number:  11-03-00061-CV
      Trial Court Number:  DV98-08100

Style:      JIM LOWENBERG, ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY
      SITUATED
      v.
      CITY OF DALLAS

Dear Counsel:

      Today the Supreme Court of Texas delivered  the  enclosed  per  curiam
opinion and judgment in the above-referenced cause.


                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Mr. Jim Hamlin    |
|   |Ms. Sherry        |
|   |Williamson        |

